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IN THE UNITED STATES DISTRICT COURT FOR THE

CLERK'S OFFICE U.S. DIST. C
WESTERN DISTRICT OF VIRGINIA AT CHARLOTTESVILE, VA

FILED

SEP 29 2021

UAC.
BY
CLERK
Case No: 3:17-cv-072-NK

MOTION IN LIMINE AND NOTICE OF INTENT TO INTRODUCE STATEMENTS

Charlottesville Division
Elizabeth Sines, et al
Plaintiffs
v
Jason Kessler, et al

Defendants

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AGAINST INTERST AND PRIOR TESTIMONY OF UNAVAILABLE WITNESS "EMILY"
GORCENSKI PURSUANT TO FED.R.EVID. 804(b)(3) AND 807

Comes now the Defendant, Christopher Cantwell, and, he Moves this Court
In Limine and gives Notice of Intent to Introduce Statements Against
Interest Of Unavailable Witness "Emily" Gorcenski Pursuant To Fed.R:Evid.

804(b)(3) And 807. In support, he states as follows:

1) ftmily"” Gorcenski is a biological male who styles himself a woman
and who is a member of the Antifa domestic terrorist organization.
Gorcenski was present at the August.11 and 12, 2017, violence that
is the subject of this litigation, video taped the events extens-

ively, and, was also present at various events prior to this liti-

gation, including a false report that Cantwell
had brandished a firearm ‘at a Walmart parking Yot and a.
meeting with Plaintiff Seth Wispelwey where the

violence of August 11, 2017, was agreed to and planned. After the
instant events, Gorcenski also ratified the.violence that occurred

through numerous social media posts.

2) Cantwell is trying to locate and subpoena Gorcenski, but, believes

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Gorcenski is in Germany and is actively avoiding service of pro-
cess. As such, Cantwell anticipates that Gorcenski will be un-

available to ‘testify in this matter.

3) Cantwell would like to introduce the following statements against
interest and/or prior testimonial statements of Gorcenski:

a) screenshots from Gorcenski's Twitter feed previously appended
to Cantwell's Objection To.Evidentiary Sanctions Against
Defendant Kiine;

b) transcripts of testimony Gorcenski gave during Cantwell's Virg-
inja state criminal proceedings;

c) Exhibits, 121-4248 1267131 o¢ cantwell's exhibit list, these
being videos of the August 11, 2017, violence at the Thomas
_defferson statue at the University of Virginia ("UVa"), most
downloaded from Gorcenski's Periscope account, Periscope being
a livestreaming service. As Cantwell] was also present.for the

events depicted in most of this video, these videos are also
admissible from his personal knowledge under Fed.R.Evid. 1007
and 602;

d} Exhibit 137, a video Gorcenski has stated best depicts his in-
volvement in the violence of August 11, 2017, along: with his
Statements;

e) Exhibit 13, a collection of statements from Gorcenski's Twitter
feed generally advocating violence against persons’ Tike’ the
Defendants;

f) Exhibit 20, ‘the release of claims against Cantwell signed by
Gorcenski, also admissible pursuant to Fed.R.Evid. 602 from
Cantwell's personal knowledge, and, Fed.R.Evid. 2013;

g) Exhibit 44, a letter from attorney Pam Starsis threatening pol-

ice not to interfere with Gorcenski's and other's plans for

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h)

1)

5)

k)

1)

m)

n)

violence August 11 and 12, 2017;

Exhibit 45, screenshots of Gorcenski doxxing white nationalist
participants in the demonstrations of August 11 and 12, 2017,
and soliciting violence against them as part of Gorcenski's
involvement in the Antifa domestic terror organization;

Exhibit 48-49, livestream videos of Gorcenski recording

acts of violence on behalf of the Antifa domestic terror

organization July %, 2017;

Exhibit 51, "Who Are The Antifa", an article by Antifa domestic
terrorist Mark Bray glorifying and ratifying the violence com-
mitted by Gorcenski and other members of the Antifa domestic
terror organization August 11 and 12, 2017. Had Gorcenski been
available to testify, he would have testified that he had en-
dorsed the views contained in this article and shared it: with
other members and supporters of the Antifa domestic terror org-
anization;

Exhibit 55-56, posts from Its Going Down, an Antifa domestic
terror website, urging Antifa to resist Grand Jury subpoenas; .
Exhibits 55(2) and 56(2) and 71, posts on Its Going Down and
Unicorn Collective websites calling for the Antifa domestic
terror organization to commit acts of criminal violence on
August 11 and 12, 2017;

Exhibits 99-101 and 129, a compilation of videos livestreamed
by Gorcenski showing Gorcenski identifying white nationalist
demonstrators to be attacked by the Plaintiffs and their Ant-
ifa domestic terror associates;

Exhibits 102-103, materjal from the group “Showing Up For Racial
Justice ("SURJ"), an Antifa domestic terror affiliate, raising

bond money in advance of the August 11 and 12, 2017, protests

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4)

5)

raising money for the Plaintiffs and their associates in the
expectation that Plaintiffs and their associates would commit
crimes;
o) Exhibit 118, a 302 given by Gorcenski.to the FBI, also admis-
sible pursuant to Fed.R.Evid. 803(8):

-p) Exhibit 119 a sworn affidavit given by Gorcenski to obtain a
warrant against Cantwell. The statements made in Exhibits
118-119 and Gorcenski's testimony in Cantwell's Virginia crim-
inal cases are inconsistent;

q). Exhibits 128 and 130-131, which are compilations of videos of
Gorcenski mocking and engaging demonstrators, and then
feigning panic or fear and claiming to..be under assault for

Antifa filmographers.

The relevance of the above exhibits. should be obvious. First, we-

have videos of the violence of August 11, 2021, ‘shot by Gorcenski,

-depicting Gorcenski's involvement in violence. We then have a large

amount of matertal which Gorcenski, as a member of the domestic ter-
ror organization Antifa, would have been familiar with detailing
Antifa's plan to engage in criminal violence August 11 and 12, 2021.
And, there is a Targe amount of material showing Gorcenski fetgning
victimization and swearing falsely under oath to bring legal process
against Cantwell, illustrating the Antifa tactic of engaging in
vigilante violence, as the 1870s Ku Kiux Klan was alteged to have
done, and, then, utilizing legal process to attack those they have

just victimized, also like the Klan was alleged to have done and as

Plaintiffs are doing here. All of these are statements against int-

erest admissible under Fed.R.Evid. 804(b)(3).

Similarly, equity demands that this material be admitted even if

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Gorcenski cannot be found to provide foundation. The authenticity

and trustworthiness of this video is not in dispute, and, can be
attested to in part by numerous witnesses, including Cantwell.

And, this all goes to the heart:of the question here, which is who
Started the violence August 11 and 12, 2017, and, was it the Def-
endants acting from ractal animus, or, the Plaintiffs acting from
anti-white and dudaic supremacist racial animus against the Defend-
ants. As such, this material should be admitted under Fed.R.Evid.

807(a).

Respectfully Submitted,

L lenge

Christopher Cantwell
USP-Marion

PO Box 1000

Marion, IL 62959

CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk of
the Court, Ist Class Postage Prepaid, for: posting upon the ECF system,
to which all other parties are subscribed, and, handed to USP-Marion

staff members Nathan Simpkins and/or Kathy Hill for electronic trans-.

fer to the Court this 29th day of September, 2021.

CL“

Christopher Cantwell

 
